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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION



VLSI TECHNOLOGY LLC,
              Plaintiff,
                                                    Lead Case: No. 1:19-cv-977-ADA

       v.                                           (Consolidated with No. 6:19-cv-255-ADA
                                                    and No. 6:19-cv-256-ADA)

                                                    JURY TRIAL DEMANDED
INTEL CORPORATION,
              Defendant.



 ORDER DENYING DEFENDANT INTEL CORPORATION’S MOTION TO DISMISS

       On this day came on to be considered the Motion to Dismiss (Dkt. 133) filed by Defendant

Intel Corporation and the Court having now reviewed said Motion to Dismiss and the Opposition

thereto filed by Plaintiff VLSI Technology LLC, hereby finds that said Motion to Dismiss is

MOOT. It is, therefore,

       ORDERED that Defendant Intel Corporation’s Motion to Dismiss (Dkt. 133) is

hereby DENIED as MOOT.


       SIGNED this 28th
                   ____ day of March, 2021.

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                                                   ALAN D. ALBRIGHT
                                                   UNITED STATES DISTRICT JUDGE
